Case 19-10099-BFK   Doc 1   Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document     Page 1 of 47
Case 19-10099-BFK   Doc 1   Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document     Page 2 of 47
Case 19-10099-BFK   Doc 1   Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document     Page 3 of 47
Case 19-10099-BFK   Doc 1   Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document     Page 4 of 47
Case 19-10099-BFK   Doc 1   Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document     Page 5 of 47
Case 19-10099-BFK   Doc 1   Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document     Page 6 of 47
Case 19-10099-BFK   Doc 1   Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document     Page 7 of 47
Case 19-10099-BFK   Doc 1   Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document     Page 8 of 47
Case 19-10099-BFK   Doc 1   Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document     Page 9 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 10 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 11 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 12 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 13 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 14 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 15 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 16 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 17 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 18 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 19 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 20 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 21 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 22 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 23 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 24 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 25 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 26 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 27 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 28 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 29 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 30 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 31 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 32 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 33 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 34 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 35 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 36 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 37 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 38 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 39 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 40 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 41 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 42 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 43 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 44 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 45 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 46 of 47
Case 19-10099-BFK   Doc 1    Filed 01/10/19 Entered 01/10/19 12:15:54   Desc Main
                            Document      Page 47 of 47
